 

  

Case 1:21-cr-00065-RJD Document 41 Filed 02/02/22 Page 1 of 3 PagelD #: 423
USM-285 is a 5-part form. Fill out the form and print 5 copies. Sign as needed and route as specified below.

Ui Departmen Justi PROCESS RECEIPT AND RETURN

     

 

 

 

 

 

United States Marshals Service Soe "“Insirwettons for Servier of Process by U.S, Marsha
PF COURT CASE NUMBER

United States 21-CR-0065

DEFENDANT TYPE OF PROCESS

$697,458.75 Bill of Particulars

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE J United States Marshals Service
AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

225 Cadman Plaza East, Brooklyn, New York 11201
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

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BREON PEACE, United States Attorney

Eastern District of New York

271-A Cadman Plaza East, 7th Floor

Brooklyn, New York 11201 hack Tir canies
__ {cae Tanisha R. Pavne/ Sam Williams. FSA on U.S.A.

 

Number of process to be
served with this Form 285

 

 

Number of parties to be
served in this case

 

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

Fold Fold

 

Please deposit the ee Finance Bank, Cashiers Check #011648 in the amount of $697,458.75 into the SADF.

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(¢Wect AYN 2 1-4B)-de1)
Signature of Attorney other Originator requesting service on behalf of: PLAINTIFF TELEPHONE NUMBER DATE

Tanisha E Payne by (hed. C1 perenpgr 718-254-6051 / | D1i25)22
SPACE BELOW FOR USE OF U.S. MansnAl cS, PQ NOT WRITE BELOW THIS LINE

CATS ID#: 22-FBI-000974

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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number of process indicated. Origine [2] Sewt
(Sign only for USM 285 if more _pD \ 7
than one USM 285 is submitted) No. No._ a
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[ hereby certify and return that I CL] have personally served , LI have legal evidence of service, ave executed as br nin "Repfarks", the process described
on the individual , company, corporation, etc., at the address shown above on the on the individu! , company, corporation; ete: at the address inserted below.

 

Oi hereby certify and return that I am unable to locate the individual, company, uenoueia etd) named above (See remarks below)
Name and title of individual served (ifnort shown above) LJ A person of suitable age and discretion
then residing in defendant's usual 2
pf abode

Address (complete only different than shown above) Date. : Time
no

 

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REMARKS: 5 ts _—-s Ds ~ >

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2. USMS RECORD
3. NOTICE OF SERVICE

4. BILLING STATEMENT*: To be returned to the U.S. Marshal with payment, > S 32.0a(- ee - (0 ‘ 4 ah
if any amount is owed. Please remit promptly payable to U.S. Marshal. = Forntf USM-285

5. ACKNOWLEDGMENT OF RECEIPT Rev, 12/80
 

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Case 1:21-cr-00065-RJD Document 18 Filed 10/29/21 Page 1 of 2 PagelD #: 195

BGK:TRP
F. #2018R01809

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
— against —

LUIS ENRIQUE MARTINELLI
LINARES and

RICARDO ALBERTO
MARTINELLI LINARES,

Defendants.

BILL OF PARTICULARS

Criminal Docket No. 21-65 (RJD)

The United States of America, by and through BREON PEACE, United States

Attorney for the Eastern District of New York, and Tanisha R. Payne, Assistant United

States Attorney, hereby files the following Bill of Particulars for Forfeiture of Property.

The above-captioned Indictment seeks forfeiture of property pursuant to Title

18, United States Code, Section 982(a)(1). The United States hereby gives notice that, in

addition to the forfeiture allegation in the above-captioned Indictment, the United States

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Case 1:21-cr-00065-RJD Document 18 Filed 10/29/21 Page 2 of 2 PagelD # 196

seeks forfeiture of the following property pursuant to Title 18, United States Code, Section

982(a)(1), as to Counts One through Five of the Indictment:

(a) Six hundred ninety-seven thousand four hundred fifty-eight dollars and
seventy-five cents ($697,458.75) in United States currency, all accrued
interest, and all proceeds traceable thereto; and

(b) One million dollars and zero cents ($1,000,000.00) in United States
currency, and all proceeds traceable thereto.

The United States reserves the right to supplement or amend this Bill of

Particulars.

Dated: Brooklyn, New York
October 29, 2021

Respectfully submitted,

BREON PEACE
United States Attorney

By: _/s Janisha Payne
Tanisha R. Payne
Assistant United States Attorney
(718) 254-6358
